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                                                                      Case No. 1:18-cv-24190-SMITH


                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                    Case No.: 1:18-cv-24190

  WILLIAM O. FULLER, and
  MARTIN PINILLA, II,
       Plaintiffs,

  v.

  JOE CAROLLO,
        Defendant.
  ______________________________/

   DEFENDANT’S RESPONSE TO AND MOTION TO QUASH PLAINTIFFS’ MOTION
   FOR ISSUANCE OF CONTINUING WRIT OF GARNISHMENT AGAINST SALARY
     OR WAGES OF JOE CAROLLO AND PLAINTIFFS’ MOTION FOR WRIT OF
                             EXECUTION

            Defendant, Joe Carollo, by and through undersigned counsel, hereby files this Response to

  and Motion to Quash Plaintiffs’ Motion for Issuance of Continuing Writ of Garnishment Against

  Salary or Wages of Joe Carollo filed on July 6, 2023 [DE 511] (the “Motion for Writ of

  Garnishment”) and Plaintiffs’ Motion for Issuance of Writ of Execution filed on July 10, 2023 [DE

  516] (the “Motion for Writ of Execution”) (together the “Motions”). The Motions should be

  quashed because the Judgment is not final. Additionally, the Motion for Writ of Garnishment

  should be quashed because the Commissioner is the Head of the Family (Household), and the

  Motion for Writ of Execution should be quashed because it does not comply with Florida law.

       I.   THE MOTIONS SHOULD BE QUASHED BECAUSE THE JUDGMENT IS NOT
            FINAL

            On June 1, 2023, this Court entered a judgment in favor of Plaintiffs for $63,500,000.00,

  with interest at the statutory rate from the date of the judgment, pursuant to the Jury Verdict entered

  on June 1, 2023 (the “Judgment”). [DE 479]. On June 29, 2023, Defendant filed a Notice of

  Appeal. [DE 500]. On June 29, 2023, Plaintiffs filed a Motion to Clarify Judgment (the “Motion


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  to Clarify”), seeking to clarify or amend the Judgment. [DE 504]. On July 7, 2023, Plaintiffs filed

  the Motion for Issuance of Continuing Writ of Garnishment Against Salary or Wages of Joe

  Carollo (the “Motion for Writ of Garnishment”). [DE 511]. On July 10, 2023, Plaintiffs filed a

  Motion for Issuance of Writ of Execution. [DE 516]. On July 12, 2023, Defendant filed his Claim

  of Exemption and Request for Hearing (the “Affidavit”). [DE 518].

      A. THE MOTION TO CLARIFY RENDERS THE JUDGMENT NONFINAL

          Plaintiffs seek to clarify or amend the Judgment pursuant to Rule 60(a) and Rule 59(e),

  Federal Rules of Civil Procedure, to reflect, inter alia, that the Judgment is against Defendant in

  his personal and official capacity. Alternatively, Plaintiffs seek to amend the complaint post-

  judgment, pursuant to Federal Rule 15(b)(1). Plaintiffs insist that “it is necessary to clarify” the

  Judgment (DE 504, page 1 ¶1), that the current Judgment could present “potential doubt and

  confusion” (DE 504, page 2 ¶2), that “clarification is necessary and appropriate” (DE 504, page 3

  ¶3), and that this Court should amend its judgment “to clarify [its] intended disposition of the case”

  (DE 504, page 8 ¶2). By acknowledging that the current Judgment could present potential doubt

  and confusion, Plaintiffs emphasize the nonfinal state of the Judgment.

          Amending the Judgment pursuant to Rule 60(a) requires a clerical error to be corrected.

  Amending the Judgment to reflect that Defendant is responsible in both his personal and official

  capacity goes beyond a clerical error. See Weeks v. Jones, 100 F.3d 124, 128-129 (11th Cir. 1996)

  (“While the district court may correct clerical errors to reflect what was intended at the time of

  ruling, “[e]rrors that affect substantial rights of the parties ... are beyond the scope of rule 60(a).”

  (citing Mullins v. Nickel Plate Mining Co., 691 F.2d 971, 973 (11th Cir.1982)); “A district court

  is not permitted, however, to clarify a judgment pursuant to Rule 60(a) to reflect a new and




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  subsequent intent because it perceives its original judgment to be incorrect.” (citing Burton v.

  Johnson, 975 F.2d 690, 694 (10th Cir.1992)).

          Plaintiffs are also seeking to clarify the Judgment pursuant to Rule 59(e) to include

  Defendant’s official capacity which renders the Judgment nonfinal: “[t]he majority of post-trial

  motions, such as Rule 59, render the underlying judgment nonfinal both when filed before an

  appeal is taken (thus tolling the time for taking an appeal), and when filed after the notice of appeal

  (thus divesting the appellate court of jurisdiction).” Stone v. I.N.S., 514 U.S. 386, 402–03 (1995).

  A Rule 59(e) motion “suspends the finality of the original judgment.” Banister v. Davis, 140 S.

  Ct. 1698, 1703 (2020). “The filing of a Rule 59(e) motion within the 28-day period for purposes

  of an appeal. Without such a motion, a litigant must take an appeal no later than 30 days from the

  district court’s entry of judgment. See Fed. Rule App. Proc. (FRAP) 4(a)(1)(A). But if he timely

  submits a Rule 59(e) motion, there is no longer a final judgment to appeal from. Only the

  disposition of that motion ‘restores th[e] finality’ of the original judgment, thus starting the 30-day

  appeal clock.” Id. (internal quotation marks and alterations omitted).

          Lastly, Plaintiffs should have clarified in which capacity Defendant was being sued early

  on and should not have waited for the Judgment. See Jones v. Barlow, 2:19-CV-00114-JLB-NPM,

  2020 WL 5797653, at *3, 2020 U.S. Dist. LEXIS 178508 (M.D. Fla. Sept. 29, 2020) (“Whether

  Defendants were sued in their individual or official capacities is an important issue that the City

  should have clarified at an earlier stage of the litigation”).

          Therefore, because Plaintiffs’ Motion to Clarify renders the Judgment nonfinal, Plaintiffs’

  Motions are premature and should be quashed.




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     B. A WRIT OF GARNISHMENT CAN ONLY BE ISSUED AFTER FINAL
        JUDGMENT

         Plaintiffs filed the Motion for Writ of Garnishment pursuant to Sections 77.01, 77.03 and

  77.0305 of the Florida Statutes. However, a lawsuit under 42 U.S.C. § 1983 is a tort action. See

  Manuel v. City of Joliet, Ill., 580 U.S. 357, 362 (2017) “Section 1983 creates a ‘species of tort

  liability.’” Florida law contains specific provisions for the issuance of a writ of garnishment in tort

  cases. In fact, pursuant to Florida Statute 77.02, “before judgment against a defendant no writ of

  garnishment shall issue in any action sounding in tort.”

         Because Plaintiffs’ Motion for Clarification seeks to modify the Judgment, Plaintiffs

  cannot ask this Court to enforce a judgment that may be pending amendments and issue a writ of

  garnishment in this tort action without a final judgment. Plaintiffs’ Motion for Writ of Garnishment

  is not ripe while the Motion for Clarification is pending and until this Court determines whether

  the Judgment must be amended or clarified, or confirms that it is final.

     C. A WRIT OF EXECUTION CAN ONLY BE ISSUED AFTER FINAL JUDGMENT

         Pursuant to Rule 69, Federal Rules of Civil Procedure, “[t]he procedure on execution—

  and in proceedings supplementary to and in aid of judgment or execution—must accord with the

  procedure of the state where the court is located, but a federal statute governs to the extent it

  applies.” Florida state law therefore applies to the enforcement of the writ of execution in this case,

  and under Florida law, a writ of execution can only be based on a final judgment. See Nichols v.

  Michael D. Eicholtz Enterprises, Inc., 706 So. 2d 70 (Fla. 5th DCA 1998) (“Execution is only

  permitted on judgments which determine with finality the rights and liabilities of parties.”). Here,

  because Plaintiffs seek to amend the judgment, and specifically clarify Defendant’s liability, the

  current judgment does not determine with finality the rights and liabilities of the parties.

         Therefore, the Motion for Writ of Execution is equally premature.

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   II.   THE MOTION FOR WRIT OF GARNISHMENT SHOULD BE QUASHED
         BECAUSE DEFENDANT IS THE HEAD OF HOUSEHOLD AND HIS WAGES
         ARE PROTECTED UNDER FLA. STAT. 222.11

         On July 12, 2023, Defendant filed a claim of exemption and request for hearing pursuant

  to the Affidavit. In the Affidavit, Defendant claims the head of family exemption as he provides

  “more than one-half the support for a child or other dependent, ha[s] net earnings of more than

  $750 per week, but ha[s] not agreed in writing to have [his] wages garnished.”

         Under Section 222.11(2)(b) Florida Statute, “Disposable earnings of a head of a family,

  which are greater than $750 a week, may not be attached or garnished unless such person has

  agreed otherwise in writing.” In accordance with the Affidavit, Defendant has not agreed in writing

  to have his wages garnished.

         The head of family exemption seeks to protect families and their financial stability. In

  2013, Judge Andrea Simonton determined that “[t]he head of family exemption is designed to

  ‘protect citizens against financial reverses and difficulties and to permit the citizen when residing

  in Florida and head of a family to be secure in money coming to him for his labor and services

  thereby supporting his family and preventing it from becoming a public charge.’ Therefore, §

  222.11 is liberally construed in favor of the debtor. However, ‘Florida exemption law is not to be

  used as a sword merely to defeat the claims of creditors. The purpose of the head of family

  exemption is to preserve the home and shelter for the family, so as to prevent the family from

  becoming a public charge.’ A court inquiring into the head of family exemption must examine the

  facts of each case and determine whether the individual claiming the exemption is actually the

  head of family.” Brandt v. Magnificent Quality Florals Corp., 07-20129-CIV, 2013 WL 1289259,

  at *4 (S.D. Fla. Mar. 28, 2013).




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         In addition to determining whether the individual claiming the exemption is the head of

  family, courts also look at whether they have any dependent. The Florida Supreme Court has

  created a test to determine the meaning of “head of household” whereby “a person claiming

  exemption must show either: (1) a legal duty to maintain arising out of the family relationship at

  law; and/or (2) continuing communal living by at least two persons with one person recognized as

  being in charge.” Killian v. Lawson, 387 So. 2d 960, 962 (Fla. 1980). Additionally, “it is not

  necessary that the head of the family have a legal obligation to support, as moral obligation is

  sufficient.” Vandiver v. Vincent, 139 So. 2d 704, 709 (Fla. 2d DCA 1962).

         Here, Defendant is the head of household and primary provider for his wife, and thus, his

  wages are entitled to full protection under Section 222.11, Florida Statutes. Further, in an act of

  generosity and charity, Defendant, in January 2023, pledged to support a husband and wife and

  their two minor children (together “the four dependents”) as they flee from the Venezuelan

  Communist regime. Specifically, Defendant filed USCIS Form I-134A “Online Request to be a

  Supporter and Declaration of Financial Support” (the “USCIS Form”) whereby he became

  financially responsible for the four dependents. These four individuals also qualify as dependents

  under Section 222.11, Florida Statutes because they are in continuing communal living with

  Defendant, as described in Lawson, 387 So. 2d at 962. By filling out USCIS Form, page 8,

  Defendant committed to financially support the four dependents and cover their basic living needs

  with his salary as City Commissioner, which is both a moral and legal obligation.

         If his wages were garnished to pay the Judgment, Defendant, his wife, and the four

  dependents, who are non-resident aliens and are not allowed to work, would be put in an impossible

  financial situation, which is statutorily what Section 222.11(2)(b) Florida Statute precludes.




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         Therefore, even when the Judgment becomes final after the Court clarifies, amends, or

  refuses to clarify or amend the language of the Judgment, Plaintiffs’ Motion for Writ of

  Garnishment should be quashed because Defendant is the head of family and his wages are

  protected under Section 222.11(2)(b) Florida Statute.

  III.   THE MOTION FOR WRIT OF EXECUTION SHOULD BE QUASHED BECAUSE
         IT FAILS TO DESCRIBE DEFENDANT’S PROPERTY

         Not only is the Motion for Writ of Execution premature, it is facially insufficient. Pursuant

  to Section 56.29(2) Florida Statutes, the Writ of Execution must “describe any property of the

  judgment debtor not exempt from execution in the hands of any person or any property, debt, or

  other obligation due to the judgment debtor which may be applied toward the satisfaction of the

  judgment.” Plaintiffs’ Motion for Writ of Execution is a blanket writ containing no detail as to

  Defendant’s property and fails to (i) describe what type of property is targeted by the Motion for

  Writ of Execution (chattels, goods, land etc.), (ii) indicate that it is exempt from execution, and

  (iii) identify where and who might have control over said property. Description of the property is

  necessary for the sheriff to identify and locate property. In Florida, “a judgment will operate as a

  lien on personal property of the judgment debtor within the county from the time that a writ of

  execution based thereon is delivered to the sheriff.” Smith v. Purdy, 272 So. 2d 545, 547 (Fla. 3d

  DCA 1973). Without information on the specific property subject to the writ of execution, the

  sheriff receives a blanket order to seize and create a lien on unidentified property. Proceeding as

  such would lead to self-help, and under Florida law, “self-help repossession can only proceed

  without breach of the peace.” In re 53 Foot Trawler Pegasus, 608-CV-117-ORL-18DAB, 2008

  WL 4938345 at *3 (M.D. Fla. Nov. 18, 2008). Without a description of the property to show the

  sheriff what must be seized, it is impossible to search and seize Defendant’s property without

  breaching the peace. The purpose of describing the property is to help the sheriff identify (i) what

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  the property is, (ii) where it is located, and (iii) who has control over it to allow a safe identification

  and peaceful seizure of the property. Therefore, Plaintiffs’ Motion for Writ of Execution fails to

  identify the property and causes a risk of breach of the peace.

          WHEREFORE, Defendant respectfully requests that Plaintiffs’ Motion for Writ of

  Garnishment and Motion for Writ of Execution be quashed. Plaintiffs cannot garnish Defendant’s

  wages because (1) the Judgment is not final until this Court rules on the Motion to Clarify, which

  bars the issuance of a writ of garnishment in a tort action under Florida law, and (2) Defendant is

  the head of family and his wages are protected by the head of family exemption. Plaintiffs’ Motion

  for Writ of Execution is improper because (1) the Judgment is not final until this Court rules on

  the Motion to Clarify, and (2) the Motion for Writ of Execution is a blanket order which fails to

  comply with Florida law and describe Defendant’s property.



                                     CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on August 7, 2023, I electronically filed the foregoing with the

  Clerk of the Court using CM/ECF. I also certify that the foregoing document is being served this

  day on all counsel of record.

                                                           Respectfully submitted,

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